      Case 1:21-cr-00015-LMM-LTW Document 41 Filed 02/24/22 Page 1 of 2




                    IN THE UNITED STATES DISTRICT COURT
                   FOR THE NORTHERN DISTRICT OF GEORGIA
                             ATLANTA DIVISION


 UNITED STATES OF AMERICA,

 v.                                            CRIMINAL CASE NO.
                                               1:21-cr-00015-LMM-LTW
 DOMINGO MARTINEZ,

                Defendant.

        ORDER FOR SERVICE OF REPORT AND RECOMMENDATION

         Attached is the report and recommendation of the United States Magistrate

Judge made in this action in accordance with 28 U.S.C. § 636 and this Court’s Local

Rule 72.1C. Let the same be filed and a copy, together with a copy of this Order, be

served upon counsel for the parties.

         Pursuant to 28 U.S.C. § 636(b)(1), each party may file written objections, if any,

to the report and recommendation within fourteen (14) days of the receipt of this

Order. Should objections be filed, they shall specify with particularity the alleged

error or errors made (including reference by page number to the transcript if applicable)

and shall be served upon the opposing party. The party filing objections will be

responsible for obtaining and filing the transcript of any evidentiary hearing for review

by the district court. If no objections are filed, the report and recommendation may be

adopted as the opinion and order of the district court and any appellate review of factual
   Case 1:21-cr-00015-LMM-LTW Document 41 Filed 02/24/22 Page 2 of 2




findings will be limited to a plain error review. United States v. Slay, 714 F.2d 1093

(11th Cir. 1983), cert. denied, 464 U.S. 1050 (1984). A party failing to object to a

magistrate judge’s findings or recommendations contained in a report and

recommendation in accordance with the provisions of 28 U.S.C. § 636(b)(1) waives

the right to challenge on appeal the district court’s order based on unobjected-to factual

and legal conclusions. Mitchell v. United States, 612 F. App’x 542, 545 (11th Cir.

2015); 11th Cir. R. 3-1. In the absence of a proper objection, however, the appeals

court may review the matter on appeal for plain error if necessary in the interest of

justice. Mitchell, 612 F. App’x at 545; 11th Cir. R. 3-1.

      The Clerk is directed to submit the report and recommendation with objections,

if any, to the district court after expiration of the above time period.

      SO ORDERED, this 24 day of February, 2022.



                                    ___________________________________
                                    LINDA T. WALKER
                                    UNITED STATES MAGISTRATE JUDGE




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